Case 22-06993          Doc 26  Filed 09/15/22 Entered 09/15/22 23:16:31                  Desc Imaged
                              Certificate of Notice Page 1 of 4
                          UNITED STATES BANKRUPTCY COURT
                           NORTHERN DISTRICT OF ILLINOIS
                                      Eastern Division

In Re:                                     )               BK No.:     22-06993
Ronisha J. Carpenter                       )
                                           )               Chapter: 13
                                           )
                                                           Honorable Jacqueline P Cox
                                           )
                                           )
              Debtor(s)                    )

                                      Order Confirming Plan

       The plan under Chapter 13 of the Bankruptcy code, filed as docket No. 21, having been found
by the Court to comply with the provisions of the 11 U.S.C. section 1325, THE PLAN IS HEREBY
CONFIRMED.




                                                        Enter:


                                                                  Honorable Jacqueline Cox
 Dated: September 12, 2022                                       United States Bankruptcy Judge
           Case 22-06993                Doc 26          Filed 09/15/22 Entered 09/15/22 23:16:31                                     Desc Imaged
                                                       Certificate of Notice Page 2 of 4
                                                              United States Bankruptcy Court
                                                               Northern District of Illinois
In re:                                                                                                                 Case No. 22-06993-JPC
Ronisha J. Carpenter                                                                                                   Chapter 13
       Debtor
                                                     CERTIFICATE OF NOTICE
District/off: 0752-1                                                  User: admin                                                                 Page 1 of 3
Date Rcvd: Sep 13, 2022                                               Form ID: pdf003                                                           Total Noticed: 29
The following symbols are used throughout this certificate:
Symbol          Definition
+                Addresses marked '+' were corrected by inserting the ZIP, adding the last four digits to complete the zip +4, or replacing an incorrect ZIP. USPS
                 regulations require that automation-compatible mail display the correct ZIP.

#                Addresses marked '#' were identified by the USPS National Change of Address system as requiring an update. While the notice was still deliverable,
                 the notice recipient was advised to update its address with the court immediately.


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on Sep 15, 2022:
Recip ID                 Recipient Name and Address
db                     # Ronisha J. Carpenter, 800 Hinman Ave Apt 606, Evanston, IL 60202-2323
29815758                 Chicago Family & Immigration, 53 W Jackson Blvd Ste 752, Chicago, IL 60604-3466
29899288               + Chicago Family & Immigrations Services, LLC., 53 W. Jackson Blvd., Suite 752, Chicago, IL 60604-3466
29815762                 Goldman Sachs Bank USA, Attn: Bankruptcy, PO Box 70379, Philadelphia, PA 19176-0379
29815763                 Illinois Bone & Joint, 5057 Paysphere Circle, Chicago, IL 60674-0001
29815766                 Law Office of Russell D. Knight, 1165 N Clark St Ste 700, Chicago, IL 60610-2821
29815768                 Northshore University Health, 23056 Network Place, Chicago, IL 60673-1230

TOTAL: 7

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
Electronic transmission includes sending notices via email (Email/text and Email/PDF), and electronic data interchange (EDI). Electronic transmission is in Eastern
Standard Time.
Recip ID                 Notice Type: Email Address                                     Date/Time                 Recipient Name and Address
29815755               + Email/Text: backoffice@affirm.com
                                                                                        Sep 13 2022 22:44:00      Affirm, Inc., Attn: Bankruptcy Attn: Bankruptcy,
                                                                                                                  30 Isabella St , Floor 4, Pittsburgh, PA
                                                                                                                  15212-5862
29815756               + Email/PDF: AIS.cocard.ebn@aisinfo.com
                                                                                        Sep 13 2022 22:39:55      Capital One, Attn: Bankruptcy, PO Box 30285,
                                                                                                                  Salt Lake City, UT 84130-0285
29865009               + Email/PDF: ebn_ais@aisinfo.com
                                                                                        Sep 13 2022 22:53:28      Capital One Bank (USA), N.A., by American
                                                                                                                  InfoSource as agent, 4515 N Santa Fe Ave,
                                                                                                                  Oklahoma City, OK 73118-7901
29815759                  Email/Text: electronicbkydocs@nelnet.net
                                                                                        Sep 13 2022 22:44:00      Dept Of Ed/582/nelnet, Attn: Bankruptcy
                                                                                                                  Claims/Nelnet, PO Box 82505, Lincoln, NE
                                                                                                                  68501-2505
29825689                  Email/Text: FMClaims@Firstmarkservices.com
                                                                                        Sep 13 2022 22:43:38      Firstmark Serviced Trust, Firstmark Services, PO
                                                                                                                  Box 82522, Lincoln, NE 68501
29815761                  Email/Text: FMClaims@Firstmarkservices.com
                                                                                        Sep 13 2022 22:43:38      Fm/firstma, Attn: Bankruptcy 121 S 13th St #201,
                                                                                                                  Lincoln, NE 68508
29820625               + Email/Text: ksutherland@fncu.org
                                                                                        Sep 13 2022 22:43:00      First Northern Credit Union, 230 West Monroe St,
                                                                                                                  Suite 2850, Chicago, IL 60606-4903
29815760               + Email/Text: ksutherland@fncu.org
                                                                                        Sep 13 2022 22:43:00      First Northern Cu, 230 W Monroe, Chicago, IL
                                                                                                                  60606-4975
29815764                  Email/Text: rev.bankruptcy@illinois.gov
                                                                                        Sep 13 2022 22:44:00      Illinois Dept of Revenue, Bankruptcy Unit, PO
                                                                                                                  Box 19035, Springfield, IL 62794-0000
29815765                  Email/Text: sbse.cio.bnc.mail@irs.gov
                                                                                        Sep 13 2022 22:43:00      Internal Revenue Service, Centralized Insolvency
                                                                                                                  Operation, Post Office Box 7346, Philadelphia, PA
                                                                                                                  19101-7346
29815757                  Email/PDF: ais.chase.ebn@aisinfo.com
                                                                                        Sep 13 2022 22:39:27      Chase Card Services, Attn: Bankruptcy P.O.
                                                                                                                  15298, Wilmington, DE 19850
29859814               + Email/Text: RASEBN@raslg.com
                                                                                        Sep 13 2022 22:43:00      JPMorgan Chase Bank, N.A., s/b/m/t Chase Bank
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                                                    Certificate of Notice Page 3 of 4
District/off: 0752-1                                               User: admin                                                            Page 2 of 3
Date Rcvd: Sep 13, 2022                                            Form ID: pdf003                                                      Total Noticed: 29
                                                                                                            USA, N.A., c/o Robertson, Anschutz & Schneid,
                                                                                                            P.L., 6409 Congress Avenue, Suite 100, Boca
                                                                                                            Raton, FL 33487-2853
29815767              + Email/Text: Documentfiling@lciinc.com
                                                                                   Sep 13 2022 22:43:00     Lendclub Bnk, Attn: Bankruptcy Attn:
                                                                                                            Bankruptcy, 595 Market Street , Suite 200, San
                                                                                                            Francisco, CA 94105-2802
29900998                 Email/PDF: PRA_BK2_CASE_UPDATE@portfoliorecovery.com
                                                                         Sep 13 2022 22:53:28               Portfolio Recovery Associates, LLC, c/o Lending
                                                                                                            Club Corporation, POB 41067, Norfolk, VA
                                                                                                            23541
29817251              + Email/PDF: gecsedi@recoverycorp.com
                                                                                   Sep 13 2022 22:39:30     Synchrony Bank, c/o PRA Receivables
                                                                                                            Management, LLC, PO Box 41021, Norfolk, VA
                                                                                                            23541-1021
29815769              + Email/PDF: gecsedi@recoverycorp.com
                                                                                   Sep 13 2022 22:39:55     Synchrony Bank/Old Navy, Attn: Bankruptcy, Po
                                                                                                            Box 965060, Orlando, FL 32896-5060
29862432              + Email/Text: BKRMailOps@weltman.com
                                                                                   Sep 13 2022 22:44:00     TINKER FEDERAL CREDIT UNION, c/o
                                                                                                            Weltman, Weinberg & Reis Co., L.P.A., 965
                                                                                                            Keynote Circle, Brooklyn Heights, OH
                                                                                                            44131-1829
29815770              + Email/Text: bankruptcy@tinkerfcu.org
                                                                                   Sep 13 2022 22:44:00     Tinker Fcu, Attn: Bankruptcy, PO Box 45750,
                                                                                                            Tinker AFB, OK 73145-0750
29815771                 Email/Text: bankruptcies@uplift.com
                                                                                   Sep 13 2022 22:43:00     Uplift, Inc., Attn: Bankruptcy 801 El Camino Real,
                                                                                                            Menlo Park, CA 94025
29820962                 Email/PDF: OGCRegionVBankruptcy@hud.gov
                                                                                   Sep 13 2022 22:39:27     U.S. Department of Housing and Urban
                                                                                                            Development, 77 West Jackson Boulevard,
                                                                                                            Chicago, IL 60604
29815772              + Email/PDF: Bankruptcynoticeshomelending@wellsfargo.com
                                                                              Sep 13 2022 22:53:38          Wells Fargo Bank NA, 1 Home Campus MAC
                                                                                                            X2303-01A 3rd Floor, Des Moines, IA
                                                                                                            50328-0001
29853173                 Email/PDF: BankruptcynoticesCCSBKOperations@wellsfargo.com
                                                                              Sep 13 2022 22:53:30          Wells Fargo Bank, N.A., Wells Fargo Card
                                                                                                            Services, PO Box 10438, MAC F8235-02F, Des
                                                                                                            Moines, IA 50306-0438

TOTAL: 22


                                                    BYPASSED RECIPIENTS
The following addresses were not sent this bankruptcy notice due to an undeliverable address, *duplicate of an address listed above, *P duplicate of a
preferred address, or ## out of date forwarding orders with USPS.
Recip ID        Bypass Reason Name and Address
29888607        *+            Synchrony Bank, c/o PRA Receivables Management, LLC, PO Box 41021, Norfolk VA 23541-1021

TOTAL: 0 Undeliverable, 1 Duplicate, 0 Out of date forwarding address


                                                   NOTICE CERTIFICATION
I, Gustava Winters, declare under the penalty of perjury that I have sent the attached document to the above listed entities
in the manner shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and
belief.

Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed .R. Bank. P.2002(a)(1), a notice containing the
complete Social Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains
the redacted SSN as required by the bankruptcy rules and the Judiciary's privacy policies.

Date: Sep 15, 2022                                        Signature:           /s/Gustava Winters
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District/off: 0752-1                                             User: admin                                                               Page 3 of 3
Date Rcvd: Sep 13, 2022                                          Form ID: pdf003                                                         Total Noticed: 29

                                CM/ECF NOTICE OF ELECTRONIC FILING
The following persons/entities were sent notice through the court's CM/ECF electronic mail (Email) system on September 12, 2022 at the address(es) listed
below:
Name                            Email Address
Christine Thurston
                                on behalf of Debtor 1 Ronisha J. Carpenter cthurston@thurstonlawfirm.com thurstonlawfirm@jubileebk.net

Patrick S Layng
                                USTPRegion11.ES.ECF@usdoj.gov

Thomas H. Hooper
                                thomas.h.hooper@chicagoch13.com


TOTAL: 3
